                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

                           )
UNITED STATES OF AMERICA, )
                           )
                           )
         Plaintiff,
                           )
                           )
    v.                     ) Civil Action No. 1:20-cv-01744-CFC
                           )
WALMART, INC. and WAL-MART )
STORES EAST, LP,           )
                           )
                           )
         Defendants.
                           )


                                PROPOSED ORDER

      WHEREAS, the United States of America having asked this Court for an

Order confirming that it may at this time access documents that Walmart has

produced into the repository in In re National Prescription Opiate Litigation, Case

No. 1:17-md-02804-DAP (N.D. Ohio) established by MDL Case Management

Order No. 1 (MDL Docket No. 232) at 15, ¶9.k.ii. and Discovery Ruling 22 (MDL

Docket No. 2576) (“the MDL Repository”), and the Court having considered the

request and response thereto;

      IT IS HEREBY ORDERED this ____ of ___________________, 2022, as

follows:
1. The United States of America may access certain documents that Walmart

   has produced into the MDL Repository and that have not been designated by

   Walmart as containing protected health information; to facilitate this,

   Walmart agrees to provide the United States of America by September 16,

   2022, with a list of volumes or documents that Walmart believes the United

   States of America may not access under this Order.

2. The United States of America shall bear all costs associated with such access

   and shall ensure that Walmart is promptly provided with a list of the

   documents that it obtains access to, by bates number where possible; and

3. Unless otherwise ordered by the Court at a future date, the United States of

   America may not access Walmart dispensing data, deposition transcripts,

   expert reports, or Walmart’s written responses to formal discovery that

   Walmart has produced into the MDL Repository.

4. Nothing in this Order: (i) prohibits the United States of America from using

   in this case, data, transcripts, reports, responses, or other documents

   produced by Walmart to the United States of America; or (ii) limits the

   United States of America’s ability to investigate other matters.

5. By September 23, 2022, the parties shall submit to the Court a proposed

   protective order governing documents produced or to be used in this
litigation. That proposed protective order shall include provisions for

appropriate treatment of protected health information contained therein.



                   ________________________________________
                   Honorable Colm F. Connolly
                   Chief United States District Judge
